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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE



 BARBARA SVITEK,                                   Case No.: 1:18-cv-01384-MN

                Plaintiff,
         vs.

 SUPERVALU, INC., DONALD R.
 CHAPPEL, IRWIN S. COHEN, PHILIP L.
 FRANCIS, MARK GROSS, ERIC G.
 JOHNSON, MATHEW M. PENDO,
 FRANCESCA RUIZ DE LUZURIAGA,
 FRANK A. SAVAGE, and MARY A.
 WINSTON,
            Defendants.

                             NOTICE OF VOLUNTARY DISMISSAL

       Notice is hereby given pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil

Procedure that Plaintiff Barbara Svitek (“Plaintiff”) voluntarily dismisses her claims in the

captioned action (the “Action”) with prejudice. Because this notice of dismissal is being filed

with the Court before service by defendants of either an answer or a motion for summary

judgment, Plaintiff’s dismissal of the Action is effective upon the filing of this notice.


  Dated: October 22, 2018                      O’KELLY ERNST & JOYCE, LLC

                                               /s/ Ryan M. Ernst
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